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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                                       NO. 4:14CR00080-06 KGB

TISAN KEION BATES                                                                        DEFENDANT

                                                ORDER

          Defendant Tisan Keion Bates was committed to the custody of the Attorney General for a

mental evaluation on April 23, 2014. The Court received the written forensic evaluations of defendant

on August 13, 2014, and filed the evaluation report under seal (Dkt. No. 83).

          Any response to the forensic evaluations must be filed within fourteen (14) days from the date

the forensic examination report is received by the Court and the parties. Any party who requests a

hearing regarding any issues in the report or opposes the report must file a motion for hearing or a

motion in opposition, including a concise statement of opposition to the report and citation to

supporting authorities. If no motions are filed within fourteen (14) days, the Court will enter an Order

adopting or rejecting the conclusions set forth in the report, and the period of excludable delay will

end.

          In the event counsel for the government or defendant disputes the findings in the forensic

evaluation report, a motion for hearing or motion in opposition to the report, including a concise

statement of opposition to the report and citation to supporting authorities, must be filed by August 27,

2014. If no motions are filed, the Court will enter an Order based on the conclusions set forth in the

report.

          IT IS SO ORDERED this 14th day of August, 2014.



                                                        _________________________________
                                                        KRISTINE G. BAKER
                                                        UNITED STATES DISTRICT JUDGE
